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                      UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA         :      Hon. William H. Walls

             v.                         Crim. No.    13-276      (WHW)

PATRICK FOGO and
DENTON GOUGH                            CONTINUANCE ORDER



             This matter having come before the Court on the joint

application of Paul J. Fishman, United States Attorney for the

District of New Jersey (by Ronnell L. Wilson, Assistant U.S.

Attorney), and defendants Patrick Fogo        (by Olubukola 0. Adetula,

Esq.),    and Denton Gough   (by Alyssa A. Cimino,       Esq.)   for an order

granting a continuance of the proceedings in the above-captioned

matter to pursue plea negotiations, and each defendant being

aware that he has the right to have the matter brought to trial

within 70 days of the date of his appearance before a judicial

officer of this court pursuant to Title 18 of the United States

Code,    Section 3161(c) (1), and as each defendant has consented to

such a continuance, and for good and sufficient cause shown,

             IT IS THE FINDING OF THIS COURT that this action should

be continued for the following reasons:

             l    Plea negotiations are currently in progress,           and

both the United States and the defendants desire additional time

to finalize a plea agreement, which would render trial of this

matter unnecessary;
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             2.     The grant of a continuance will likely conserve

judicial resources;

             3.     Pursuant to Title 18 of the United States Code,

Section 3161(h) (7),         the ends of justice served by granting the

continuance outweigh the best interests of the public and the

defendants in a speedy trial.

             WHEREFORE,       on this   }-‘       day of July 2013,

             ORDERED that motions shall be filed September 4,                    2013;

the opposition motions shall be filed by September 18,                       2013;    the

argument of motions is scheduled for September 30,                     2013,   or a

date to be set by the Court; and the trial is scheduled for

October 15,       2013,   or a date to be set by the Court;

             ORDERED that the period from August 5,                  2013,   through

October 4,    2013,       shall be excludable in computing time under the

Speedy Trial Act of 1974,         pursuant                     ,   United States

Code,   Section 3161(h) (7).



                                             Hon.
                                             United States District Judge




Form and entry
consented to:



Ronnell L. Wilson
Assistant U.S. Attorney
‘Ju’   J   ‘J   Case 2:13-cr-00276-WHW
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                  Oiul5ukoUa 0. Adetula, Esq.
                  Counsel for defendant Patrick Fogo




                  Alyssa A. Cimino, Esq.
                  Counsel for defendant Denton Gough
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Olubukola 0. Adetula, Esq.
Counsel for defendant Patrick Fogo




Alyss
Counse           ridant Denton Gough
